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1     Jeff Macy “In Pro Per”                                              02/18/2025
      P.O. Box #103
2     Twin Peaks, CA 92391                                                    AP
      Telephone: (909) 744 -8480
3     Email: 1611Bible.us@gmail.com
4                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE CENTRAL DISTRICT OF CALIFORNIA
5
      JEFF MACY, as an individual,                  Case No.: 5:23-cv-02245-RGK-BFM
6
                       PLAINTIFF,                   STATEMENT OF GENUINE DISPUTES OF
7     vs.                                           MATERIAL FACT
8
      CALIFORNIA HIGHWAY PATROL, a State            Date: March 18, 2025
9
      Agency; Officer CHRISTOPHER BATES,            Time: 10:00 a.m.
      Supervisor Officer Sergeant JEFFREY           Courtroom: 780
10    O’BRIEN, & DOES 1-10, inclusive,              Judge: Hon. Brianna Fuller Mircheff

11                   DEFENDANTS.                    Trial Date: Not Set
                                                    Action Filed: 5/06/2024
12
              Moving Plaintiff Jeff Macy hereby submits his Statement of Uncontroverted
13
      Facts in Support Evidence in support of his motion for summary judgment,
14
      pursuant to Local Rule 56-1, et seq.
15

16
       Moving Party’s Uncontroverted Facts         Opposing Party’s Response to Cited
17
       & Conclusions of Law                        Fact & Conclusions of Law
18
       1. On June 27, 2023, at approximately       A. On June 27, 2023, Plaintiff & Family
19
            1255 hours, Officer C. Bates, was on         were driving home from the Heaps
20
            routine patrol when he observed              Peak Transfer Station Dump at
21
            four people (three passengers and            12:09 P.M. on Highway 18.
22
            one driver) seated in a white Isuzu
23
            box truck traveling the opposite
24

25
            direction on State Route 18, near

26
            Arrowhead Villa Road.

27

28                                              PAGE 1
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1
       Evidence:                                   Evidence:
2
       Declaration of Christopher Bates            Entirety of Macy Video.
3
       (Bates Decl.), ¶3;
4

5
       10/1/24 Deposition of Jeff Macy,
6
       Excerpts, (Macy Dep.) 29:15-17
7
       (Attached as Exhibit D to Declaration
8
       of Julio A. Hernandez);
9

10

11
       Macy Video Transcript, 2:15-3-5; 7:12-

12
       25; 13:14-23 (Attached as Exhibit E to

13     Declaration of Julio A. Hernandez);

14

15     Macy Video timestamp 04:58-05:25

16     (Attached as Exhibit F to Declaration

17     of Julio A. Hernandez)

18     2. Based on his training & experience, B. On October 23-24, 2023, Case #:
19        Officer Bates suspected one of the             23IN-065744. Officer Bates
20        passengers was not properly seat               admitted to being improperly
21        belted because that particular                 trained. The judge asked if Plaintiff
22        vehicle with a single cab can only             Jeff Macy wanted the win. Jeff
23        seat a maximum of two                          Macy was proven innocent of the
24        passengers and one driver.                     seat belt misdemeanor infraction
25
                                                         traffic ticket; & $153 money was
26
                                                         returned in full.
27

28                                              PAGE 2
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1
       Evidence:                                  Evidence:
2
       Bates Decl., ¶3;                           Plaintiff’s Declaration in Support of
3
                                                  Opposition to Motion for Summary
4
                                                  Judgment
5
       3. As a result of the potential seatbelt   C. Officer Bates parked on the
6
          violation he observed, Officer              opposite direction on Highway 18
7
          Bates concluded that a traffic              assumed there was a potential
8
          enforcement stop was warranted.             seatbelt violation.
9

10

11
       Evidence:                                  Evidence:

12     Bates Decl., ¶3;                           Bates Decl., ¶3;

13     4. Officer Bates then commenced a          D. Officer Bates turned on his

14        traffic enforcement stop by turning         vehicle’s overhead lights &

15        on the overhead lights, & following         proceeded to follow Plaintiff’s box

16        the box truck.                              truck.

17

18     Evidence:                                  Evidence:
19     Bates Decl., ¶3; Macy Dep. 32:14-33:2      Bates Decl., ¶3; Macy Dep. 32:14-33:2
20     5. About two minutes later, the box        E. Plaintiff Jeff Macy saw an
21        truck stopped on a highway turn             enforcement vehicle with
22        off & Officer Bates stopped behind          overhead lights on, so he
23
          the box truck.                              proceeded to turn onto the turn
24
                                                      off & stop.
25

26
       Evidence:                                  Evidence:
27

28                                           PAGE 3
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1
       Bates Decl., ¶4; Macy Dep. 34:14-18,         Bates Decl., ¶4; Macy Dep. 34:14-18,
2
       35:7-9.                                      35:7-9.
3
       6. Officer Bates then exited his patrol      F. Officer Bates got out of his vehicle
4
          vehicle, & proceeded to contact                 & approached Plaintiff’s side door
5
          the driver of the Isuzu, Plaintiff Jeff         window to talk to him with his
6
          Macy, by speaking to him through                folded over nametag. Officer
7
          passenger’s side door window.                   Bates refused to give his name or
8
                                                          even identify himself as required by
9
                                                          California.
10

11

12     Evidence:                                    Evidence:

13     Bates Decl., ¶4; Macy Dep. 35:10-19.         Bates Decl., ¶4; Macy Dep. 35:10-19.

14     7. Officer Bates then requested from         G. Plaintiff Macy gave Officer Bates

15        Plaintiff Macy his driver’s license,            his driver’s license, registration, &

16        registration, & proof of insurance.             proof of insurance as requested.

17

18     Evidence:                                    Evidence:
19     Bates Decl., ¶4; Macy Dep. 37:17-38:2;       Bates Decl., ¶4; Macy Dep. 37:17-38:2;
20     38:16-19.                                    38:16-19.
21     8. Officer Bates then explained to           H. Plaintiff Macy was told by Officer
22        Plaintiff Macy the enforcement                  Bates that he was pulled over for a
23
          stop was due to a potential                     passenger not being secured by a
24
          seatbelt violation.                             seatbelt.
25

26
       Evidence:                                    Evidence:
27

28                                               PAGE 4
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1
       Bates Decl., ¶4; Macy Dep. 36:10-19.            Bates Decl., ¶4; Macy Dep. 36:10-19.
2
       9. Upon inspection of the interior of           I. Officer Bates stepped up, put his
3
             the Isuzu, from the passengers’ side            hand inside the cab, & leaned into
4
             window & in plain-view Officer                  Plaintiff’s vehicle to investigate
5
             Bates determined the passenger                  without consent from the vehicle
6
             seated adjacent to the driver was               owner.
7
             not seated in a designated seating
8
             position while sitting on a pillow &
9
             merely secured by an aftermarket
10

11
             lap belt & therefore not properly

12           restrained.

13

14     Evidence:

15     Bates Decl., ¶4; Macy Dep. 36:25-37:9,          Evidence:

16     104:18-22; Macy Video Transcript 25:8-          Macy Video Transcript 11:09-11:27.

17     14;
18     10. Officer Bates then returned to his          J. Officer Bates went back to his
19           patrol car to confirm the                       patrol car with Plaintiff’s driver’s
20           information provided by Plaintiff               license, registration, & proof of
21           Macy, fill out the citation, & confer           insurance.
22           with the California Vehicle Code.
23

24
       Evidence:                                       Evidence:
25
       Bates Decl., ¶5; Macy Dep. 38:20-22.            Bates Decl., ¶5; Macy Dep. 38:20-22.
26

27

28                                                  PAGE 5
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1
       11. After about 5 or 6 minutes, Officer   K. Over 10 minutes passed, so Plaintiff
2
          Bates completed the citation &               Macy exited his vehicle to check
3
          wrote Plaintiff Macy CHP 215 form,           what was happening with Officer
4
          “Notice to Appear for violating              Bates.
5
          §27315(e) - ‘Passenger not
6
          restrained.’”
7

8
       Evidence:                                 Evidence:
9
       Bates Decl., ¶5;                          Macy Video Transcript 0:45-1:00.
10

11
       12. Thereupon, Officer Bates returned     L. As Plaintiff Macy approached

12        to the passengers’ side window to            Officer Bates’ patrol car, Officer

13        complete the traffic stop by issuing         Bates was flipping through his

14        the citation.                                California Vehicle Code to try &

15                                                     find a violation.

16

17     Evidence:                                 Evidence:
18     Bates Decl., ¶5; Macy Dep. 60:13-19,      Macy Video Transcript 0:45-1:45.
19     61:22-62:4,
20     13. However, As Officer Bates             M. Plaintiff Macy asked Officer Bates
21        attempted to issue the citation,             what vehicle code he violated.
22        Plaintiff Macy expressed his                 Officer Bates said it was §27315(e),
23        disagreement & stated his                    which states “A person 16 years of
24
          passenger was seat belted                    age or over shall not be a
25
          properly as she was restrained by            passenger in a motor vehicle on a
26
          an after-market installed seatbelt.          highway unless that person is
27

28                                            PAGE 6
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1
                                                      properly restrained by a safety
2
                                                      belt. This subdivision does not
3
                                                      apply to a passenger in a sleeper
4
                                                      berth, as defined in subdivision (x)
5
                                                      of Section 1201 of Title 13 of the
6
                                                      California Code of Regulations.”
7

8
       Evidence:                                 Evidence:
9
       Bates Decl., ¶5; see Macy Dep. 37:3-9;    Macy Video timestamp 03:11-03:31.
10

11
       Macy Video Transcript 2:1-14; Macy

12
       Video timestamp 03:11-03:31.

13     14. Plaintiff Macy then refused to sign   N. Plaintiff Macy after reading what

14        the citation & asked for a                  VC27315(e) was, requested for

15        supervisor.                                 Officer Bates’ supervisor.

16

17

18

19

20

21     Evidence:                                 Evidence:
22     Bates Decl., ¶5; Macy Dep. 61:22-62:3;    Bates Decl., ¶5; Macy Dep. 61:22-62:3;
23     Macy Video Transcript 2:1-14; Macy        Macy Video Transcript 2:1-14; Macy
24     Video timestamp 00:00-00:13;              Video timestamp 00:00-00:13;
25
       15. Approximately ten to eleven           O. Approximately twenty minutes had
26
          minutes had elapsed between                 passed between the time Officer
27

28                                           PAGE 7
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1
          time Plaintiff Macy & Officer Bates            Bates pulled Plaintiff Macy over &
2
          pulled over onto the turn off, &               Plaintiff Macy requested for a
3
          Plaintiff Macy’s request for a                 supervisor.
4
          Officer Bates’s supervisor.
5
                                                   Evidence:
6
       Evidence:                                   Macy Video Transcript 4:12.
7
       Bates Decl., ¶5;
8
       16. Had Plaintiff Macy not requested        P. Officer Bates did not request
9
          Officer Bates’s supervisor & signed            Plaintiff to sign the citation until
10

11
          the citation, the traffic stop would           about 10 minutes after his

12        have been completed.                           supervisor had showed up.

13

14     Evidence:                                   Evidence:

15     Bates Decl., ¶5;                            Macy Video Transcript 15:55.

16     17. Plaintiff Macy request Officer          Q. Plaintiff Macy requested Officer

17        Bates’s supervisor because it was              Bates’s supervisor because he was
18        Plaintiff’s belief that he had been            being unlawfully detained. Officer
19        unlawfully detained. He wanted a               Bates was trying to issue Plaintiff
20        witness to the unlawful detainment             Macy a ticket for Violations(c): CT:
21        & to complain about Officer                    001 VC27315(e)-I : No Seat Belt
22        Bates’s “cold” & “threating”                   (Over 16 Yrs Old). Officer Bates’s
23        demeanor. He believed he was                   own ticket even states that
24
          being targeted due to a dispute                “27315(e)vc 4th Passenger secured
25
          with an unrelated third party, & the           by a non-factory equipped seat
26
          supervisor would determine that                belt” Plaintiff Macy hoped that a
27

28                                              PAGE 8
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1
             the citation was incorrect & would           supervisor would determine that
2
             “let him [Macy] go.”                         the citation was false.
3

4
       Evidence:                                    Evidence:
5
       Macy Dep. 42:7-46:18; 47:2-50:2; 53:1-       Macy Dep. 42:7-46:18; 47:2-50:2; 53:1-
6
       22.                                          22.
7
       18. Plaintiff Macy wanted to avoid           R. Plaintiff Macy wanted to avoid
8
             being issued the citation.                   being issued a false citation.
9

10

11
       Evidence:                                    Evidence:

12     Macy Dep. 39-12-13; 51:17-53:22.             Macy Dep. 39-12-13; 51:17-53:22.

13     19. Once Plaintiff Macy requested a          S. Officer Bates was in his patrol

14           supervisor, Officer Bates, returned          vehicle the whole time while

15           to the patrol vehicle & contacted            waiting for the on-duty supervisor,

16           the on-duty supervisor, Sergeant             Sergeant O’Brien to show up.

17           O’Brien.
18

19     Evidence:                                    Evidence:
20     Bates Decl., ¶6 Declaration of Jeffrey       Macy Video Transcript 0:00-4:22
21     O’Brien, ¶3
22     20. At about 13:10, Sgt. O’Brien             T. Plaintiff Macy waited for a
23
             acknowledge the call for a                   supervisor to show up.
24
             supervisor & proceed to travel to
25
             the location of the traffic stop.
26

27

28                                               PAGE 9
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1
       Evidence:                                   Evidence:
2
       Bates Decl., ¶6; O’Brien Decl., ¶3          Macy Video Transcript 0:00-4:22
3
       21. In the interim, while waiting for       U. Plaintiff Macy used his phone to
4
          supervisor to arrive, Plaintiff Macy           record the illegal stop.
5
          had exited the truck, & was
6
          holding his cell phone & utilizing it
7
          to record the stop.
8

9
       Evidence:                                   Evidence
10

11
       Bates Decl., ¶6; Macy Dep. 61:22-           Macy Video Transcript 0:00-27:10

12     62:16.; Macy Video Transcript 2:1-14;

13     Macy Video timestamp 00:00-00:13

14     22. Sgt. O’Brien arrived at the stop        V. Supervisor Sergeant O’Brien arrived

15        location at 13:18.                             at the stop location.

16

17     Evidence:                                   Evidence:
18     Bates Decl., ¶7; O’Brien Decl., ¶4          Macy Video Transcript 4:12.
19     23. Plaintiff Macy was standing by his      W. Plaintiff Macy was standing at the
20        truck when Sgt. O’Brien arrived at             back of his truck when Supervisor
21        the scene.                                     Sergeant O’Brien arrived.
22

23
       Evidence:                                   Evidence:
24
       Bates Decl., ¶7; O’Brien Decl., ¶4;         Macy Video Transcript 4:12.
25
       Macy Video timestamp 04:05-04:09.
26

27

28                                             PAGE 10
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1
       24. Upon ariving Sgt. O’Brien               X. Sergeant O’Brien exited his Patrol
2
          contacted Plaintiff Macy, who                  Vehicle & asked Plaintiff “how are
3
          immediate told Sgt. O’Brien that               you doing sir” & Plaintiff
4
          he “was not happy about getting                responded, “well I’m not happy
5
          pulled over.”                                  about getting pulled over.”
6

7
       Evidence:                                   Evidence:
8
       Bates Decl., ¶7; O’Brien Decl., ¶4;         Macy Video Transcript 4:15.
9
       Macy Video Transcript, 5:10-13; Macy
10

11
       Video timestamp 04:09-04:19

12     25. Plaintiff Macy then addressed his       Y. Plaintiff Macy informed Sergeant

13        concerns about the enforcement                 O’Brien that Officer Bates refused

14        contact & the validity of the                  to give Plaintiff Macy a business

15        citation with Sgt. O’Brien for about           card. Plaintiff Macy further

16        three minutes.                                 explained to Sergeant O’Brien that

17                                                       Officer Bates was trying to issue
18                                                       him a false ticket.
19

20     Evidence:                                   Evidence:
21     Bates Decl., ¶7; O’Brien Decl., ¶4;         Macy Video Transcript 4:15-5:44.
22     Macy Video Transcript 5:14-11:18;
23     Macy Video timestamp 04:15-07:02
24
       26. Thereafter, Sgt. O’Brien conferred      Z. Sergeant O’Brien went to confer
25
          with Officer Bates regarding the               with Officer Bates after Sgt. O’Brien
26
          stop for about two minutes.                    not allowing Plaintiff to record;
27

28                                             PAGE 11
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1
                                                          Plaintiff went to get his son to
2
                                                          record the stop instead.
3

4

5
       Evidence:                                    Evidence:
6
       Bates Decl., ¶7 O’Brien Decl., ¶4;           Macy Video Transcript 7:02-9:12.
7
       Macy Video timestamp 07:02-09:09.
8
       27. Once Sgt. O’Brien finishing              27. Sergeant O’Brien walked back
9
          conferring with Ofc Bates, Sgt.           over to talk with Plaintiff Macy.
10

11
          O’Brien returned to speak with

12        Plaintiff Macy.

13

14     Evidence:                                    Evidence:

15     Bates Decl., ¶7; O’Brien Decl., ¶4;          Macy Video timestamp 9:12.

16     Macy Video timestamp at 09:10

17     28. Sgt. O’Brien attempted to explain        28. Sergeant O’Brien explained why
18        to Plaintiff Macy the rationale for       Plaintiff Macy was pulled over & was
19        the stop & the reasoning behind           being issued a citation violation.
20        the citation.
21

22     Evidence:                                    Evidence:
23     Bates Decl., ¶7; O’Brien Decl., ¶4;          Bates Decl., ¶7; O’Brien Decl., ¶4;
24
       Macy Video Transcript 13:14-17; Macy         Macy Video Transcript 13:14-17; Macy
25
       Video timestamp 09:10-09:23                  Video timestamp 09:10-09:23
26

27

28                                              PAGE 12
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1
       29. Unpersuaded to by Sgt. O’Brien’s        29. Plaintiff Macy tried to explain to
2
          explanation, Plaintiff Macy              Sergeant O’Brien & Bates as to why
3
          proceeded to dispute the citation        this was illegal detainment & a false
4
          with Sgt. O’Brien & Officer Bates,       ticket.
5
          arguing the validity of the stop &
6
          the citation.
7

8
       Evidence:                                   Evidence:
9
       Bates Decl., ¶7; O’Brien Decl., ¶4;         Bates Decl., ¶7; O’Brien Decl., ¶4;
10

11
       Macy Video Transcript 13:14-50:12;          Macy Video Transcript 13:14-50:12;

12
       Macy Video timestamp beginning at           Macy Video timestamp beginning at

13     09:24 and continuing to end at 26:56.       09:24 and continuing to end at 26:56.

14     30. About three minutes into Plaintiff’s    30. Officer Bates stepped up onto

15        Macy’s arguing the citation,             Plaintiff’s box truck side step, put his

16        Officer Bates, stepped up on the         hand inside the vehicle, & leaned into

17        truck’s side step to look into the       the vehicle; investigating without
18        cab & the subject seatbelt.              consent from the vehicle owner.
19

20     Evidence:                                   Evidence:
21     Bates Decl., ¶8; Macy Video                 Macy Video transcript 11:10-11:25.
22     timestamp 11:10-11:25.
23     31. Oficer Bates head entered the           31. Officer Bates Head & Hand
24
          cab, but his feet remained on the        entered Plaintiff’s vehicle. Officer
25
          box truck’s side step. Officer Bates’    Bates did not seek Plaintiff Macy’s
26
                                                   consent before entering the vehicle.
27

28                                             PAGE 13
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1
          inspection took approximately
2
          fifteen seconds.
3
                                                 Evidence:
4
       Evidence:                                 Macy Video transcript 11:10-11:25.
5
       Bates Decl., ¶8; Macy Video
6
       timestamp 11:10-11:25.
7
       32. A couple of minutes passed as         32. Officer Bates conducted a search
8
          Plaintiff Macy continued to argue      without initial consent when he
9
          the citation, when he verbally         stepped up onto Plaintiff’s vehicle &
10

11
          consented to an additional search      leaned into the vehicle with his upper

12        & instructed the passengers in the     body, & hand was inside the cab.

13        box truck to exit the cab.             During the second search, Officer

14                                               Bates asked, “Could I get the

15                                               passengers out, so I could inspect it?”

16                                               Plaintiff Macy then replied, “Sure,

17                                               come on out guys.”
18

19     Evidence:                                 Evidence:
20     Bates Decl., ¶9; O’Brien Decl., ¶5;       Macy Video Transcript 13:11-15.
21     Macy Video Transcript 21:21-24. Macy
22     Video timestamp 13:08-13:12
23     33. The second search by Officer          33. The second search by Officer
24
          Bates & Sgt. O’Brien lasted            Bates & Sergeant O’Brien lasted
25
          approximately thirty seconds,          about thirty seconds; & Officer Bates
26
          without either of them entering the    took a photo of the seatbelt, but
27

28                                           PAGE 14
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1
          cab; & Officer Bates taking a single never provided Plaintiff the picture as
2
          photo of the subject seatbelt.         requested.
3

4

5
       Evidence:                                 Evidence:
6
       Bates Decl., ¶8; O’Brien Decl., ¶5;       Macy Video timestamp 13:32-13:59
7
       Macy Video timestamp 13:32-13:59
8
       34. During the brief inspections,         34. Officer Bates took a picture of
9
          nothing within the cab was moved       Plaintiff’s Vehicle.
10

11
          or disturbed & no property was

12        taken.

13

14     Evidence:                                 Evidence:

15     Bates Decl., ¶9; O’Brien Decl., ¶5;       Macy Video timestamp 13:32-13:59

16     Macy Video timestamp 11:10-11:25;

17     13:32-13:59
18     35. For about the next twelve minutes,    35. Plaintiff Macy continued to explain
19        Plaintiff Macy continued to dispute    why the ticket was false & why this
20        the validity of the citation &         was an illegal detainment.
21        informed the officers that he would
22        seek a complaint against Officer
23        Bates.
24

25
       Evidence:                                 Evidence:
26
                                                 Macy Video timestamp 14:00-26:55.
27

28                                           PAGE 15
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1
       Bates Decl., ¶10; O’Brien Decl., ¶6;
2
       Macy Video Transcript 22:19-50:12;
3
       Macy Video timestamp 14:00-26:55.
4
       36. Plaintiff Macy finally discontinued     36. The Traffic stop concluded
5
          arguing & the enforcement stop
6
          concluded.
7

8
       Evidence:                                   Evidence:
9
       Bates Decl., ¶10; O’Brien Decl., ¶6         Bates Decl., ¶10; O’Brien Decl., ¶6
10

11
       Macy Video Transcript 22:19-50:12;          Macy Video Transcript 22:19-50:12;

12     Macy Video timestamp 26:53-26:56.           Macy Video timestamp 26:53-26:56.

13     37. At 13:47, almost thirty minutes after   37. Plaintiff Macy & Family were free

14        Sgt. O’Brien’s arrival, both officers    to go.

15        cleared the incident with CHP

16        dispatch.

17

18     Evidence:                                   Evidence:
19     Bates Decl., ¶10; O’Brien Decl., ¶6         Macy Video Timestamp: 27:05
20     38. At no time did either officer use       38. Plaintiff was illegally detained for
21        profanity, use force, or place           over an hour.
22        Plaintiff in handcuffs.
23

24
       Evidence:                                   Evidence:
25
                                                   Macy Video Timestamp: 0:00-27:10
26

27

28                                             PAGE 16
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1
       Bates Decl., ¶11; O’Brien Decl., ¶7;
2
       Entirety of Macy Video Transcript &
3
       Macy Video;
4
       39. During the entirety of the stop, the   39. Officer Bates refused to identify
5
          officers were cordial without raising himself when requested by Plaintiff
6
          their voices.                           Macy.
7

8
       Evidence:                                  Evidence:
9
       Bates Decl., ¶11; O’Brien Decl., ¶5;       Macy video timestamp 0:50 12:15-
10

11
       Entirety of Macy Video Transcript &        12:45 16:25-17:00.

12     Macy Video;

13     40. The traffic enforcement stop lasted    40. The illegal detainment lasted over

14        just over fifty minutes, of which       an hour.

15        about forty minutes elapsed after

16        Plaintiff Macy requested a

17        supervisor & he refused to sign the
18        notice to appear.
19

20     Evidence:                                  Evidence:
21     Bates Decl., ¶12; O’Brien Decl., ¶8;       Entirety of Macy Video.
22     Entirety of Macy Video.
23
       41. Plaintiff Second Amended               41. Plaintiff Macy’s Second Amended
24
          Complaint appears to allege 42          Complaint alleged multiple civil rights
25
          U.S.C. §1932, 1985 & 1988 Violations    violations.
26
          of Civil Rights, on various grounds.
27

28                                            PAGE 17
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2
       Evidence:                                  Evidence:
3
       Second Amended Complaint (SAC)             Second Amended Complaint (SAC)
4
       ECF 18, Exhibit A to Hernandez Decl.
5
       42. After a screening & order, the         Plaintiff Macy was only allowed to
6
          Court dismissed all other claims &      proceed in Court with the Sixth Cause
7
          only allowed Plaintiff to proceed       of Action alleged against both
8
          with the Sixth Cause of Action,         Defendants: (a) prolonged stop; & (b)
9
          alleging against both Defendants:       unlawful search & seizure.
10

11
          (a) prolonged stop; & (b) unlawful

12        search & seizure.

13

14     Evidence:                                  Evidence:

15     Magistrate Judges Interim Report &         Magistrate Judges Interim Report &

16     Recommendation, ECF 23, Section F,         Recommendation, ECF 23, Section F,

17     pp. 14-17, attached as Exhibit B to        pp. 14-17, attached as Exhibit B to
18     Hernandez Decl.; Order Accepting           Hernandez Decl.; Order Accepting
19     Report & Recommendation, ECF 25,           Report & Recommendation, ECF 25,
20     attached as Exhibit C to Hernandez         attached as Exhibit C to Hernandez
21     Decl.                                      Decl.
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28                                            PAGE 18
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